                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

  UNITED STATES OF AMERICA

            v.                                                       No. 3:14-cr-00215

  PAUL PERROTTI,
        Defendant.

 MEMORANDUM OF DECISION RE SENTENCING GUIDELINES CALCULATION

       Defendant Paul Perrotti was charged with three counts of defrauding the Town of

Middlebury, in violation of 18 U.S.C. § 666(a)(1)(A). Each of the charged counts required the

Government to prove that defendant defrauded the Town of more than $5,000 in each of the

years 2011, 2012, and 2013, respectively. Following a jury trial, the jury returned a guilty verdict

on Counts Two and Three of the indictment (involving the years 2012 and 2013) and was unable

to reach a verdict on Count One of the indictment (involving the year 2011). On November 9,

2015, I entered an order denying defendant’s post-trial motions. Doc. #121. On January 28,

2016, I conducted a Fatico hearing to address the calculation of the Sentencing Guidelines,

including calculation of the amount of loss and proposed upward adjustments for abuse of a

position of trust and obstruction of justice. This ruling addresses the Sentencing Guidelines

calculations.

       Calculation of “Loss”

       Section 2B1.1 of the Sentencing Guidelines instructs me to determine the approximate

amount of actual or intended loss. See generally United States v. Lacey, 699 F.3d 710, 717-20

(2d Cir. 2012) (noting in part that the Court “is only required to make a reasonable estimate of

the loss”). The Government submitted briefing in advance of the hearing to recommend that the

Court calculate an 8-level increase pursuant to U.S.S.G. § 2B1.1(b)(1)(E), because the total loss
exceeded $95,000 but was less than $150,000. At the hearing, the Government introduced a

summary table (Govt. Exh. #300) in support of its contention that the total loss was

$114,821.50. 1 I have considered as well the arguments set forth in defendant’s sentencing

memoranda and at the Fatico hearing.

        My focus at the Fatico hearing was to determine what quantity of loss was established by

at least a preponderance of the evidence due to the offense conduct of conviction or relevant

criminal conduct. See U.S.S.G. § 1B1.3. The Government’s submitted loss amount included both

amounts incurred due to the offense conduct of conviction (defrauding the Town) as well as

amounts that the Government contends were misappropriated from another entity, the

Middlebury Volunteer Fire Department (MVFD), as part of the same course of conduct. Because

the relevant conduct calculation must be based only on losses that are due to criminal

misconduct, I am mindful that the loss calculation should not include costs or expenditures that

are alleged to be wrongful solely for lack of proper documentation or because they were incurred

in violation of any Town billing policy or generally accepted accounting practice.

        Electrical Supplies Billed to Town. The Government attributes a large amount of loss to

defendant’s alleged fraudulent billing of electrical parts to Town. The Government calculates

about $25,590.84 in loss (consisting of $12,786.99 in 2011, $8,246.24 in 2012, and $4,557.61 in

2013). See Doc. #128 at 7. These loss figures are based on the Government’s calculation of the

amount billed to the Town for electrical parts that was above the amount expended on average by

the Town for electrical parts for other buildings.



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          The Government’s briefing notes that the total loss is approximately $112,159.41; it appears not to
include the $2,749 payment to Kim Connors in 2014. See Doc. #128 at 11. My calculations indicate that the
Government’s tabulations in Exhibit #300 reflect the alleged loss noted in the Government’s other exhibits
accurately for a total alleged loss amount of approximately $114,821.50. In any event, the discrepancy does not
affect my ruling.


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        I am not convinced that the Government’s statistical methodology is reliable. It seems

likely to me that the Fire Department would spend more on electrical parts for its building than

another department might spend on an average Town building. Moreover, to the extent that

electrical improvement projects were done at the Fire Department as a consequence of a trained

electrician serving as chief of the Fire Department, there is nothing criminally wrong with more

parts being ordered for use at the Fire Department. Nor did the Government offer particularly

persuasive evidence at trial or at the Fatico hearing to show that any particular electrical parts

that were allegedly improperly billed to the Town ended up in any particular private electrical

project of defendant’s business. As I discussed in my post-trial ruling (Doc. #121 at 9-11 & n.5),

it appears to me as well that the jury was hesitant to credit the Government’s proof as to

fraudulent billing for electrical parts, and that hesitancy most reasonably explains the jury’s

decision not to return a guilty verdict as to Count One for the 2011 year. I conclude that the

Government has not proved this aspect of its loss claim even by a preponderance of the evidence,

except for the minimum amount of $202 that the jury must necessarily have found in order to

return a verdict as to Count Three for the year 2013.

       Electrical Supplies Billed to Middlebury Volunteer Fire Department. The Government

attributes loss in the amount of $11,489.66 ($766.13 in 2011; $7,241 in 2012; and $3,482.53 in

2013) for electrical supplies billed to MVFD. Doc. #128 at 7. Here, the Government’s claim is

that “electrical supplies [were] wrongfully purchased by the MVFD,” because such expenses

should have been “a cost born by the Town, which owned the Fire Department building and all

fire-fighting equipment.” Ibid. In my view, the fact that certain MVFD expenses could have—

but were not—passed on to the Town implicates a dispute about best billing or accounting

practices rather than indicating that there was criminal fraud. Evidence was presented at the




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Fatico hearing to show that the claimed expenditures were made subject to and with the approval

of the MVFD membership. There is no claim that the parts in question were not actually

purchased, nor has the Government presented adequate proof that the parts were not actually

used at the Fire Department. Accordingly, I decline to attribute the $11,489.66 claimed by the

Government for the defendant’s loss calculation.

       Payments to Max Biggins, Andrew Ubaldi, Astro Electric, and Other Expenses. The

Government attributes $13,451.25 in loss to payments made by both the Town and MVFD to

Max Biggins ($3,100 and $2,063, respectively), by the Town to Andrew Ubaldi ($2,983.25) and

Astro Electric ($1,855), and invoices paid by the Town through MVFD for alleged training

expenses and roof repair ($3,450). Doc. #128 at 8; Govt Exh. #300. I conclude on the basis of the

evidence presented at trial that a preponderance of the evidence establishes that amounts paid to

Biggins and Ubaldi were for work they performed for private clients of defendant’s electrical

business and thus those payments were fraudulently billed to the Town or MVFD. See Doc. #121

at 4-5, 8-9. Likewise, I conclude that the amounts billed through Astro Electric were fraudulently

done in order to avoid scrutiny under the Town’s conflict-of-interest policy, and that the invoices

for training expenses and roof repair were fraudulently intended to disguise defendant’s identity

as the beneficiary of Town payments. See id. at 6, 8-9. Accordingly, I attribute $13,451.25 for

purposes of the loss calculation.

       Other MVFD Payments for Electrical Work. The Government contends that $32,559.74

in loss should be attributed for services that the defendant or his business, Paul Perrotti Electric,

billed to MVFD. Doc. #128 at 9. According to the Government, “in light of the fact that any

work done at the Fire Department was the responsibility of the Town and not the MVFD, Inc.,

there would be no reason that PPE would be hired by the MVFD to do electrical work at the Fire




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Department.” Ibid. The evidence at the Fatico hearing did not convince me that defendant

defrauded MVFD (i.e., that he did not actually perform the services in question) or that the

MVFD membership did not have an adequate opportunity to review and approve these

expenditures for defendant’s services. In my view, the fact that these expenses could have been

passed on to the Town (but were not) does not establish that there was criminal fraud.

Accordingly, I decline to attribute any of these claimed amounts toward the loss calculation.

        Home Depot Card. The Government contends that defendant opened a Home Depot

credit card in the name of MVFD and spent $6,039.38. Doc. #128 at 10. According to the

Government, “[t]o the extent that the defendant had a legitimate purchase at the Home Depot that

related to the Fire Department, however, he would have been able use the Town’s account at the

Home Depot,” and “there should be no additional charges necessary at the Home Depot in

connection with running the Fire Department.” Ibid. I am not persuaded. Again, the fact that

certain expenses could have, or should have, been passed on to the Town does not prove that

defendant engaged in criminal fraud by failing to do so. Accordingly, I will decline to attribute

any of the Home Depot charges toward the loss calculation.

        MVFD Debit Card. The Government contends that defendant used the MVFD debit card

for his own personal expenses in the amount of $14,857.75 rather than for expenses properly

chargeable to MVFD. Doc. #128 at 10 ($7,701.60 for cash withdrawals, $1,398.09 for Dunkin

Donuts, $3,841.27 for gas, $1,713.74 for Home Depot, and $203.05 for Costco). 2 It seems

plausible to me, based on the evidence presented at the Fatico hearing, that defendant as the

president of the MVFD would have a debit card, and that he would use the card for the types of


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           These numbers include alleged personal expenses for the year 2010. See Govt. Exh. #305. The
Government’s summary chart (Govt. Exh. #300) and the table in its memorandum (Doc. #128 at 11) use sub-figures
totaling $13,598.55 in charges to the debit card for 2011-2013. This discrepancy makes no difference to my
decision nor does it materially affect the loss amount for purposes of calculating the Sentencing Guidelines range.


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charges at issue here—charges that one would expect with the day-to-day operations of an active

volunteer fire department. I am not persuaded that any of these charges were criminally

fraudulent.

       Victor Buselli and Kim Connors Payments. The Government contends that defendant

fraudulently billed $12,092.75 to MVFD for personal or business expenses paid to Victor Buselli

or Kim Connors. Doc. #128 at 10-11; Govt. Exh. #300 (noting alleged fraudulent invoice to Mar-

Vic cleaners for $3,803.75 for amount owed to Buselli and payments to Kim Connors of $5,540

and $2,749). I credit this evidence on the basis of testimony and exhibits at trial. Accordingly, I

attribute $12,092.75 for purposes of the loss calculation.

       In summary, I conclude that the Government has proved by a preponderance of evidence

a total of $25,746 of loss for purposes of the Sentencing Guidelines. This corresponds to a

sentencing level increase of 4 levels pursuant to U.S.S.G. § 2B1.1(b)(1)(D).

       Abuse of Trust

       Section 3B1.3 of the Guidelines requires a 2-level increase if the defendant abused a

position of public or private trust that significantly facilitated the commission or concealment of

the offense. I conclude for the reasons set forth in the Government’s memorandum that

defendant held a position of trust, and that this dual position as fire chief and president of the

MVFD greatly facilitated his ability to engage in fraudulent billing of the Town and MVFD.

Doc. #128 at 12-13.

       Obstruction of Justice

       Section 3C1.1 of the Guidelines requires a 2-level increase if the defendant obstructed

justice, including by means of unlawfully attempting to influence a witness. For substantially the

reasons set forth in the Government’s sentencing memorandum (Doc. #128 at 13-16) involving




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his interaction with Max Biggins, I conclude that an obstruction of justice adjustment is

warranted—that defendant willfully sought to induce Max Biggins to furnish information to

investigators that defendant knew was untrue. Although it is clear from the jury’s verdict in this

case that the jury did not fully credit defendant’s extensive trial testimony, there is no need for

me to determine for sentencing guidelines purposes whether any of defendant’s trial testimony

was intentionally false.

                                           CONCLUSION

       For the foregoing reasons, the Court calculates the Sentencing Guideline as follows:

 Base offense level (§ 2B1.1(a)(2))            +6
 Loss ($15K-$40K, § 2B1.1(b)(1)(E))            +4
 Abuse of trust (§ 3B1.3)                      +2
 Obstruction of justice (§ 3C1.1)              +2
 Final Adjusted Offense Level                  14

Based on defendant’s lack of criminal history, the Sentencing Guideline range is 15-21 months

imprisonment. This calculation is set forth without prejudice to the parties’ arguments for a

departure or variance from the prescribed Guidelines range.

It is so ordered.

       Dated at New Haven this 6th day of June 2016.

                                                        /s/ Jeffrey Alker Meyer
                                                        Jeffrey Alker Meyer
                                                        United States District Judge




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